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                      UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF TEXAS
                           MARSHALL DIVISION

 CORRECT TRANSMISSION, LLC,

       Plaintiff,

       v.                                   Case No. 2:22-cv-00343-JRG-RSP

 NOKIA OF AMERICA CORPORATION,                JURY TRIAL DEMANDED

       Defendant.




                        NOKIA’S MOTION TO EXCLUDE
                    MR. DELL’S OPINIONS AND TESTIMONY
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 I.     INTRODUCTION

        Defendant hereby moves to exclude the opinions of Plaintiff’s damages expert, Mr.

 Stephen Dell, under Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993) and Rule

 702 of the Federal Rules of Evidence because Mr. Dell’s opinions are speculative and unreliable

 for at least the reasons below.

        First, Mr. Dell inappropriately relies on unreliable hearsay statements included in a license

 agreement between                                                                             to derive a

 running royalty rate of        , where the license agreement contains

                                                                                           .

        Second, Mr. Dell inappropriately relies on




                                                                      . Moreover, Mr. Dell’s use of the

 model is entirely speculative as it attributes 100% of the value of the entire portfolio to the Asserted

 Patents in the present case.

        Third, Mr. Dell used an unreliable and unsupported “apportionment factor” to determine

 the incremental value of the patented features to the Accused Products. Mr. Dell relied on the

 analysis of Dr. Cole, which is deeply flawed for the reasons described in Nokia’s Daubert motion

 and motion to strike the testimony of Dr. Cole filed concurrently herewith.

        Finally, Mr. Dell inappropriately includes revenue from unrelated products and services in

 his royalty base without showing that the entire market value rule applies and that the patented

 features drive consumer demand. Mr. Dell also makes no attempt to apportion down the unrelated

 revenue to the smallest saleable patent-practicing unit. Accordingly, Mr. Dell’s damages figures

 are based on an unsupported damages base and should be excluded.


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 II.    STATEMENT OF FACTS

        To derive his ultimate opinion as to a reasonable royalty rate, Mr. Dell calculated three

 royalty benchmarks, as shown in the table in Figure 14 below. Ex. 1 (Dell Rep.) at ¶ 350. Below

 is a high-level explanation of the relevant facts for each alleged benchmark.




        A.      Mr. Dell’s Opinions on

        Mr. Dell opines that

                               and that the parties to the hypothetical negotiation would have

 considered the agreement “a relevant data point.” Ex. 1 (Dell Rep.) at ¶ 162. Mr. Dell divides



                                                . Id. at ¶ 305; see id. at ¶ 157.




                                                                                    . Mr. Dell ignores the

 actual license and instead bases his alleged royalty rate on




                                   Id. The licensee, however,


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                                                                  Id. Mr. Dell uses

                                                                                                   . See

 Ex. 1 (Dell Rep.) at ¶¶ 159-60. The recital by                   is hearsay and is not a reliable basis

 on which to derive

                             .

        B.      Mr. Dell’s              Benchmark

        To derive the             benchmark, Mr. Dell relies on




         . Ex. 1 (Dell Rep.) at ¶ 284. Mr. Dell then speculates



                                                    Id. at ¶ 292. Mr. Dell then concludes that “the

 Asserted Patents are included in the most valuable patent assets within the Orckit portfolio” based

 on his “understanding of the technological contribution and benefits attributed to the respective

 Asserted Patents from Dr. Cole and Dr. Valerdi, including the fact that the Asserted Patents are in

 fact the patents identified for infringement claims in this case.” Id. at ¶ 292, n.512. Based on this

 speculation, Mr. Dell divides

                   that has no connection to the Asserted Patents or any technological benefit

 provided by those patents. Id. at ¶¶ 292, n.513.

        C.      Mr. Dell’s Incremental Profit Premiums

        To calculate his apportioned incremental profit premium benchmark, Mr. Dell first

 calculated overall incremental profit premiums of                    for the Accused Products


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                                                                                Ex. 1 (Dell Rep.) at

 ¶ 320 (emphasis in original).

        Next, to “isolate the value attributed to the respective Asserted Patents,” Mr. Dell applied

 apportionment factors supplied by Correct Transmission’s apportionment expert, Dr. Cole, for

 each of the Asserted Patents. Ex. 1 (Dell Rep.) at ¶¶ 321-23. Dr. Cole, however, admitted at his

 deposition that he did not provide an opinion regarding incremental value of the Asserted Patents.

 See, e.g., Ex. 4 (Cole Dep.) at 15:7-16:15, 22:15-29:9, 35:11-36:13, 37:18-24, 38:17-39:24.

 Instead, Dr. Cole’s analysis is limited to determining what percentage of the product features

 allegedly infringe the Asserted Patents and does not account for the contributions of other patented

 and unpatented technologies. See id.

        Mr. Dell applied Dr. Cole’s apportionment factors to the incremental profit premiums as

 shown in Figure 12 of his report. Ex. 1 (Dell Rep.) at ¶ 324. As one example, for the ’669 patent,

 Mr. Dell multiplied

                                                                         allegedly attributable to the

 patented features of the ’669 patent.

        Mr. Dell then applied                                                    to the hypothetical

 negotiation to derive royalty ranges as set forth in Figure 13 of his report. Ex. 1 (Dell Rep.) at

 ¶ 328. Mr. Dell then uses the lower end of his calculations                    as one of the royalty

 rate benchmarks upon which he bases his opinions. Ex. 1 (Dell Rep.) at ¶¶ 350, 353, 355.

        D.      Mr. Dell’s Royalty Base

        For his royalty base, Mr. Dell includes three categories of revenue that go beyond the

 Accused Products: (1) unaccused products; (2) accessories associated with the Accused Products

 (e.g., cables, licensing fees, etc.); and (3) services revenues associated with the Accused Products.

 Regarding unaccused products, Mr. Dell acknowledges that “Correct Transmission has not


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 accused all individual models of the Accused Instrumentalities of infringing all of the Asserted

 Patents.” Ex. 1 (Dell Rep.) at ¶ 99. Yet, Mr. Dell’s royalty base is the same for four of the five

 Asserted Patents and indisputably includes products not accused of infringement for each of the

 Asserted Patents. Compare Ex. 1 (Dell Rep.) at Attachment 10 (accused models) with id. at

 Attachments 3 and 3A (using the same royalty base for four of the five Asserted Patents).

        Regarding accessories, testimony from Mr. Desveaux explains that Nokia’s financial data

                                                                                   . For example,

 when asked



 Ex. 5 (Desveaux Dep.) at 52:1-12; see also id. at 52:13-23; Ex. 7 (Desveaux Dec.) at ¶¶ 3-4. Thus,




                                     . See id. Mr. Dell made no attempt to apportion down this

 revenue or exclude revenue for unaccused models, despite Nokia having produced reports

 demonstrating shipments of and customer contracts for the Accused Products.

        Regarding services, Nokia witness Mr. Desveaux testified that



                                                                                             . Ex. 5

 (Desveaux Dep.) at 86:5-24; Ex. 7 (Desveaux Dec.) at ¶¶ 4-6. Although Mr. Dell apportions out

 services revenue in later periods, Mr. Dell makes no attempt to apportion out services revenue for

 the period from                              . See Ex. 1 (Dell Rep.) at Attachment 4.

 III.   LEGAL STANDARDS

        “A witness who is qualified as an expert by knowledge, skill, experience, training, or

 education may testify in the form of an opinion or otherwise if the proponent demonstrates to the


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 court that it is more likely than not that: (a) the expert’s scientific, technical, or other specialized

 knowledge will help the trier of fact to understand the evidence or to determine a fact in issue;

 (b) the testimony is based on sufficient facts or data; (c) the testimony is the product of reliable

 principles and methods; and (d) the expert’s opinion reflects a reliable application of the principles

 and methods to the facts of the case.” Fed. R. Evid. 702 (effective Dec. 1, 2023). Rule 702 imposes

 a “special obligation upon a trial judge” to “ensure the reliability and relevancy of expert

 testimony.” Kumho Tire Co. v. Carmichael, 526 U.S. 137, 147, 152 (1999).

        The party tendering an expert bears the burden of establishing the admissibility of the

 expert’s testimony and persuading the court to allow the expert to testify. Daubert, 509 U.S. at 592

 n.10; see also Moore v. Ashland Chem. Inc., 151 F.3d 269, 276 (5th Cir. 1998) (en banc). To carry

 this burden, a patentee must sufficiently tie the damages expert’s opinion to the facts of the case.

 Uniloc USA, Inc. v. Microsoft Corp., 632 F.3d 1292, 1315 (Fed. Cir. 2011) (citing Daubert, 509

 U.S. at 591); VirnetX, Inc. v. Cisco Sys., 767 F.3d 1308, 1332-33 (Fed. Cir. 2014). The expert’s

 damages opinions also must be based on “sound economic and factual predicates.”

 LaserDynamics, Inc. v. Quanta Comp., Inc., 694 F.3d 51, 76 (Fed. Cir. 2012) (quoting Riles v.

 Shell Exploration & Prod. Co., 298 F.3d 1302, 1311 (Fed. Cir. 2002)). This was recently

 confirmed in the Advisory Committee Notes on changes to FRE 702 explaining the Court’s

 gatekeeping role. Fed. R. Evid. 702, 2023 Advisory Committee Notes (“[M]any courts have held

 that the critical questions of the sufficiency of an expert’s basis, and the application of the expert’s

 methodology, are questions of weight and not admissibility. These rulings are an incorrect

 application of Rules 702 and 104(a).”).




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 IV.    ARGUMENT

        A.      Mr. Dell Should Be Precluded from Offering Opinions Regarding
                             Royalty Rate

        Any opinion of Mr. Dell regarding a running royalty rate derived from

         should be excluded as unreliable. In settling their then-pending litigation and entering into

 a licensing agreement,

                                                          . See Ex. 2 (                        ).




                                                                                                Id. at

 NOAC_02531355. The                     statement on which Mr. Dell relies




                                                . Mr. Dell thus relies on an out-of-court statement




                                                                   is inherently unreliable. See, e.g.,

 Allen v. Pa. Eng’g Corp., 102 F.3d 194, 199 (5th Cir. 1996) (“[I]f the foundational data underlying

 opinion testimony are unreliable, an expert will not be permitted to base an opinion on that data

 because any opinion from that data is likewise unreliable.”); see also Alacritech Inc. v.

 CenturyLink, Inc., 2023 U.S. Dist. LEXIS 181073, at *38 (E.D. Tex. Oct. 8, 2023) (excluding

 damages expert’s opinions relying on valuation by third-party company for lack of reliability).

        Notwithstanding the parties’



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                                , Correct Transmission ostensibly wishes to admit

 hearsay statement for the alleged truth of the assertion through the opinions of Mr. Dell. Mr. Dell’s

 implication of                                is based entirely on the purported truth of self-serving

 double-hearsay statements by                                   and is inherently unreliable. Robison

 v. Cont’l Cas. Co., No. 1:17-CV-508, 2022 U.S. Dist. LEXIS 21835, at *26-27 (E.D. Tex. Jan. 6,

 2022) (“Expert testimony based solely or primarily on the opinions of other experts, however, is

 inherently unreliable. . . . It is only when the expert undertakes some independent investigation of

 the underlying opinions that his testimony may be considered reliable.” (internal quotations and

 citations omitted)).

        This would not be the first time that this Court has ruled that                      Mr. Dell

 derives from                                is unreliable. For example, in Oyster Optics, LLC v.

 Alcatel-Lucent USA Inc., No. 2:18-cv-00478-JRG (E.D. Tex. June 24, 2020), this Court granted

 Alcatel’s motion in limine seeking to preclude evidence or argument regarding the same hearsay

 statements from the same                             , where the same Mr. Dell opined that the

 effective royalty rate from                                           Ex. 3 at 10. The Court should

 similarly exclude Mr. Dell’s opinions relying on these unreliable hearsay statements.1

        B.        Mr. Dell Should Be Precluded from Offering Opinions Regarding


        Mr. Dell’s opinions regarding the alleged royalty rate benchmarks from

                   should likewise be excluded as unreliable. As explained above, the

 that Mr. Dell relies on is taken from                              that is wholly untethered to the

 Asserted Patents and is not even represented as being a reasonable royalty calculation for any


 1
  Mr. Dell’s opinions regarding                           are contained in paragraphs 159-62,
 192, 303, 305, 311, 329-30, 345-46, 350-51, 353, 355-61, and 363-64, and he should not be
 permitted to offer the opinions contained therein.

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 portion of the Orckit portfolio. The rates are unrelated to the technology of the Asserted Patents,

 and additionally are unreliable because               did not actually obtain a license for any of the

 rates.                                                                                           is not

 a reliable benchmark for determining a reasonable royalty. See Alacritech, 2023 U.S. Dist. LEXIS

 181073, at *38. In the Alacritech case, a third-party valuation of the patentee company was

 excluded for lack of reliability where the valuation did not actually contain a specific valuation of

 the asserted patents. Id. Further, like the statements in                             , the statements

 in                                  are also unreliable hearsay offered for the truth of the matter

 asserted and should be similarly excluded. See, e.g., Allen, 102 F.3d at 199.

          The unreliability of Mr. Dell’s opinion is exacerbated by his attempts to attribute the

 entirety of the portfolio-wide royalty figures to the 5 Asserted Patents. Mr. Dell opined that 4 to 7

 of the patents of the Orckit portfolio drive the entire value of the portfolio, and that the 5 Asserted

 Patents are among those 4 to 7 patents because they have been selected for assertion of

 infringement. Ex. 1 (Dell Rep.) at ¶ 292, n.512. But Mr. Dell fails to take into consideration that

 other patents from the Orckit Portfolio have also been selected for assertion of infringement,

 including 4 other patents in the Smart Path Case against Nokia alleging infringement by the same

 products accused in this case. Under Mr. Dell’s reasoning, at least those 4 other patents in the

 Smart Path Case should be considered to drive value for the portfolio, as they have been similarly

 selected for assertion of infringement.

          However, because Mr. Dell has stated that 4 to 7 patents drive the value for the Orckit

 Portfolio, this means that either the 5 Asserted Patents drive the entire value of the portfolio, or

 else, at maximum, 2 additional patents also drive that value. Accordingly, any attempt to attribute

 value to any other patents in the portfolio (beyond the maximum 2 additional patents) would




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 at 15:7-16:15, 22:15-24:17, 38:17-39:24. Instead, Dr. Cole merely determined the features that

 each patent allegedly contributed to, and then evaluated the contribution of those features to the

 Accused Products, as compared to the contribution from other features to which the Asserted

 Patents did not contribute. Id. None of Correct Transmission’s experts even attempted to apportion

 the technical contribution of any of the Asserted Patents to any particular feature as compared to

 the other technologies (both patented and unpatented) that contribute to that feature. Moreover, as

 explained in the Motion to Exclude Dr. Cole’s testimony filed concurrently herewith, neither Dr.

 Cole nor Correct Transmission’s infringement expert, Dr. Valerdi, even attempted to determine

 whether the Asserted Patents actually covered the features for which value is attributed. Dkt. 110;

 see also Ex. 4 (Cole Dep.) at 8:18-9:1, 10:9-11:25, 34:8-12; Ex. 10 (Valerdi Dep.) at 120:1-4,

 122:18-23, 119:9-123:9. Thus, Mr. Dell’s opinions dependent on Dr. Cole’s unreliable technical

 apportionment are wholly unreliable and must be excluded. Power Integrations, Inc. v. Fairchild

 Semiconductor Int’l, Inc., 711 F.3d 1348, 1373 (Fed. Cir. 2013) (“[W]hile an expert’s data need

 not be admissible, the data cannot be derived from a manifestly unreliable source.”).

        Because Mr. Dell has not performed his own technological apportionment, see Ex. 1 (Dell

 Rep.) at ¶¶ 321-24, all of his opinions regarding the incremental profit premiums relying on Dr.

 Cole’s analysis should be excluded.4 See, e.g., MLC Intellectual Prop., LLC v. Micron Tech., Inc.,

 10 F.4th 1358, 1373 (Fed. Cir. 2021) (“We have repeatedly held that when the accused technology

 does not make up the whole of the accused product, apportionment is required. . . . This is so even

 where the proposed royalty base is the smallest saleable patent practicing unit or SSPPU.”).




 4
  Mr. Dell’s incremental profit premiums analysis are contained in paragraphs 315-28, 331-34,
 348, 350-51, 353, 355-61, and 363-64, and he should not be permitted to offer the opinions
 contained therein.

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 and there is no analysis that the accused features drive consumer demand for unaccused products

 and services. See Ex. 1 (Dell Rep.) at ¶ 322; Ex. 6 (Cole Rep.) at ¶ 230. Thus, Mr. Dell’s damages

 base is overstated and unreliable, and his opinions regarding the royalty base should be excluded.

 See Cyntec Co. v. Chilisin Elecs. Corp., 84 F.4th 979, 989-90 (Fed. Cir. 2023) (reversing district

 court’s denial of Daubert motion because the “revenue reported in the customers’ annual reports

 cited by [the expert] included sales of irrelevant products and services, and he failed to account for

 these irrelevant products and services”).

        This is not the first time that Mr. Dell’s royalty base has been inappropriately overbroad.

 For example, in Realtime Data LLC v. EchoStar Corp., 2018 U.S. Dist. LEXIS 202522 at *12, No.

 6:17-cv-00084-JDL (E.D. Tex. Nov. 15, 2018), a Daubert motion was granted against Mr. Dell

 where his royalty base “stretche[d] far beyond the revenue generated by SSPPU” and instead

 included related services. Id. at *12. Mr. Dell “purport[ed] to tie this revenue to the SSPPU” when

 in fact he “include[d] nearly all revenue from Hughes’s entire internet service provider (ISP)

 business as part of his royalty base.” Id. The Court held that Mr. Dell’s royalty base was

 inappropriate and granted defendants’ Daubert motion with respect to the royalty base and certain

 convoyed sales. Id. at *14-15, 19.

        To the extent that Correct Transmission argues that the royalty base calculated by Mr. Dell

 was limited by Nokia’s financial records, a similar argument was rejected in Realtime Data, where

 the Court stated that “Plaintiff cannot merely seek to ‘hide behind’ [defendant’s] sale model and

 claim that practical and economic necessity permit Plaintiff to conduct an EMVR analysis.” Id. at

 *13. “On the contrary, a patentee must be reasonable (though may be approximate) when seeking

 to identify a patent-practicing unit, tangible or intangible, with a close relation to the patented

 feature.” Id. Similarly, here, Mr. Dell could have at least attempted to apportion out the royalty




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 base where Correct Transmission was in possession of sales contracts, reports demonstrating units

 shipped specific to the Accused Products, and pricing lists, but failed to even attempt to do so.6

 V.       CONCLUSION

          For the foregoing reasons, Nokia respectfully requests that the Court exclude testimony

 regarding his royalty benchmarks and royalty base, or in the alternative, strike the following

 paragraphs from Mr. Dell’s report: 22, 95, 98-99, 159-62, 192, 277-95, 303, 305, 311, 315-34,

 345-48, 350-51, 353, 355-61, and 363-64.



     Dated: January 8, 2024                         /s/ Thomas W. Davison

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 6
  Mr. Dell’s opinions regarding the royalty base are contained in paragraphs 22, 95, 98-99, and
 364, and he should not be permitted to offer the opinions contained therein.


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                                 CERTIFICATE OF SERVICE

        I hereby certify that the foregoing document was served via e-mail on January 8, 2024 on

 all counsel who have consented to electronic service.


                                                    /s/ Thomas W. Davison




                             CERTIFICATE OF CONFERENCE

        I hereby certify that Nokia has complied with the meet and confer requirements set forth

 in Local Rule CV-7(h). Counsel for Nokia met and conferred with counsel for Correct

 Transmission on January 5, 2024. Correct Transmission indicated that it is opposed to the relief

 sought in this motion.


                                                    /s/ Thomas W. Davison
